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                        5                                    UNITED STATES DISTRICT COURT

                        6                    EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

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                       8 MARIA DEL CARMEN PENA, CONSUELO                       Case No. 2:13-cv-01282-KJM-AC
                         HERNANDEZ, LETICIA SUAREZ,
                       9 ROSEMARY DAIL, and WENDELL T.                         [PROPOSED] ORDER GRANTING
                         MORRIS, on behalf of themselves and on                COUNSEL FOR DEFENDANT ABEL
                      10 behalf of all other similarly situated                MENDOZA, INC.’S REQUEST FOR
                         individuals,                                          TELEPHONIC APPEARANCE
                      11
                                         Plaintiffs,
                      12
                                 v.                                            Judge:    Hon. Kimberly J. Mueller
                      13                                                       Date:     March 5, 2021
                         TAYLOR FARMS PACIFIC, INC., d/b/a                     Time:     10:00 a.m.
                      14 TAYLOR FARMS, ABEL MENDOZA, INC.,                     Crtrm.:   3
                         MANPOWER, INC., QUALITY FARM
                      15 LABOR, INC., SLINGSHOT
                         CONNECTIONS, LLC and DOES 1-50,
                      16 inclusive,

                      17                       Defendants.

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                      19             The request of Counsel for Defendant Abel Mendoza, Inc. (“AMI”) to appear telephonically at
                      20 the March 5, 2021 hearing on Plaintiffs’ Motion for Final Approval of Class Action Settlement

                      21 (Docket No. 325) is hereby GRANTED. Counsel for AMI, Laura A. Wolfe (of McCormick, Barstow,

                      22 Sheppard, Wayte & Carruth, LLP) shall be available on the day of hearing at (559) 433-2160.

                      23

                      24 Date:_____________________                              ____________________________________
                                                                                         Hon. Kimberly J. Mueller
                      25                                                                United States District Judge
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MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP                                   [PROPOSED] ORDER GRANTING DEFENDANT ABEL MENDOZA, INC.’S
 7647 N FRESNO STREET
   FRESNO, CA 93720                                         REQUEST FOR TELEPHONIC APPEARANCE
